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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA              )
                                      )         CRIMINAL ACTION NO.
        v.                            )           2:12cr221-MHT
                                      )                (WO)
HALEY DALLAS HAMRAC                   )

                                    ORDER

       Upon    consideration        of    the    probation      officer’s

petition       for    early    termination       of   defendant      Haley

Dallas Hamrac’s supervised release (doc. no. 838), and

the     included      memorandum      describing      the    defendant’s

compliance with the terms of supervised release, her

ongoing employment, her graduation from high school,

and her completion of her therapeutic goals, and based

on the government’s representation to the court that it

does not oppose early termination, it is ORDERED that:

       (1) The petition is granted.

       (2) Defendant        Haley      Dallas     Hamrac’s      term       of

supervised release is terminated effective immediately,

and she is discharged.

       DONE, this the 9th day of December, 2016.

                                       /s/ Myron H. Thompson
                                    UNITED STATES DISTRICT JUDGE
